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                              EXHIBIT 22
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From:                Teitelbaum, Aaron (ATR) <Aaron.Teitelbaum@usdoj.gov>
Sent:                Thursday, June 1, 2023 4:57 PM
To:                  EWALT, Andrew (AJE); Craig Reilly
Cc:                  Wood, Julia (ATR); Wolin, Michael (ATR); Choi, Stephanie (ATR); Henry, Tyler T.; Lauren Pomeroy;
                     Feder, Morgan; MAHR, Eric (EJM); GARRETT, Tyler
Subject:             Meet & Confer - Motion to Strike Under Rule 12(f)


Hi folks,

Apologies for the short notice, but we need to cancel this call scheduled for 5pm. There is no motion to strike planned
for tomorrow.

Thanks,

Aaron M. Teitelbaum
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U.S. Department of Justice
450 Fifth Street NW
Washington, DC 20530
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